Case: 2:19-cv-02045-EAS-EPD Doc #: 17 Filed: 10/19/20 Page: 1 of 1 PAGEID #: 837




                             UNITED STATES DISRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


JOHN C. EDLER,

       Plaintiff,
                                               Case No.: 2:19-cv-2045
       v.                                      JUDGE EDMUND A. SARGUS, JR.
                                               Chief Magistrate Judge Elizabeth P. Deavers
COMMISSIONER
OF SOCIAL SECURITY,

       Defendant.

                                              ORDER

       The matter before the Court is the parties’ Joint Motion for Attorney’s Fees. (ECF No.

16.) The motion (ECF No. 16) is hereby GRANTED. Plaintiff John C. Edler (“Plaintiff”) is

awarded the sum of $3,650.00. The award of attorney fees satisfies all of Plaintiff’s claims for

fees and expenses under 28 U.S.C. § 2412. The Court orders that the fee award is payable to

Plaintiff. Pursuant to the parties’ stipulation, after the Court enters this award, if counsel for the

parties can verify that Plaintiff owes no pre-existing debt subject to offset, Defendant

Commissioner of Social Security agrees to direct that the award be made payable to Plaintiff’s

attorney pursuant to an Equal Access to Justice Act assignment duly signed by Plaintiff.

       IT IS SO ORDERED.


10/19/2020                                     s/Edmund A. Sargus, Jr.
DATE                                           EDMUND A. SARGUS, JR.
                                               UNITED STATES DISTRICT JUDGE
